Case: 3:14-cv-00870-jdp Document #: 18-2 Filed: 01/07/15 Page 1 of 8




                 Exhibit B
          Case: 3:14-cv-00870-jdp Document #: 18-2 Filed: 01/07/15 Page 2 of 8




Methamphetamine Use Among Pregnant
Women
Mishka Terplan, MD, MPH, Erica J. Smith,                                   MPH,      Michael J. Kozloski,   MA, MS,
and Harold A. Pollack, PhD

OBJECTIVE: To estimate trends in the prevalence of                                       alcohol screening by clinicians who are positioned to
methamphetamine treatment during pregnancy in the                                        identify and address such concerns outside the criminal
United States.                                                                           justice system.
METHODS: Data were obtained from the Treatment                                           (Obstet Gynecol 2009;113:1285–91)
Episode Data Set, an administrative data set that captures                               LEVEL OF EVIDENCE: III
admissions to federally funded treatment centers in the
United States. Demographic and treatment-related mea-
sures were examined among women admitted for meth-
amphetamine use and stratified by year of admission to                                   M      ethamphetamine may be the 21st century’s
                                                                                                first drug “epidemic.” Although overall use
                                                                                         prevalence has remained stable since 2002,1 meth-
assess trends over time.
                                                                                         amphetamine treatment admissions have continued
RESULTS: From 1994 to 2006 there were 245,970 preg-
nant women admitted. In 1994, methamphetamine ac-                                        to rise2 as have related emergency room visits.3,4 In
counted for 8% of admitted pregnant women, rising to                                     2006, more than 400,000 reproductive-aged women
24% by 2006. This proportion was higher than metham-                                     stated they had used methamphetamine in the prior
phetamine admissions among both nonpregnant women                                        month; these women constitute nearly 40% of all
(12%) and men (7%). The majority of methamphetamine                                      female substance users.5
admissions occurred in the West (73%) among white                                             Prenatal substance use is a perennial public
(64%) unemployed (88%) women. Over the time of                                           health and clinical concern.6 Although animal stud-
analysis, women admitted for methamphetamine treat-                                      ies have described various sequelae related to pre-
ment became sicker (measured by increasing co-occur-                                     natal methamphetamine exposure, thus far the only
ring psychiatric disorders) and more marginalized (mea-
                                                                                         consistent association in human research is with
sured by increasing dependent-living situations and
                                                                                         low birth weight.7,8 Arguably more important are
criminal justice involvement).
                                                                                         social, economic, and psychological disadvantages
CONCLUSION: Methamphetamine has become the pri-
                                                                                         that accompany illicit drug use.9,10 Pregnant sub-
mary substance compelling treatment during pregnancy.
                                                                                         stance users face elevated risks of poverty,11 psychi-
Our findings suggest a need for more effective drug and
                                                                                         atric disorders,12 histories of child sexual abuse,13
                                                                                         and current domestic violence.14 All of these factors
From the Department of Obstetrics and Gynecology, Department of Sociology, and
                                                                                         affect subsequent child development15,16 and mater-
School of Social Service Administration, the University of Chicago, Chicago, Illinois.
                                                                                         nal health throughout the life course.17
Funded in part by a grant from the Chicago Lying-In Hospital Board of Directors.
                                                                                              National data regarding prenatal methamphet-
Presented in part at the 2008 annual conference of the Society for Gynecologic
Investigation, San Diego, California, March 26 –29, 2008.                                amine use are hard to capture due to social stigma,
The authors thank the Chicago Lying-In Hospital Board of Directors for their
                                                                                         negative provider attitudes toward such behaviors,
support of this project.                                                                 and providers’ desire to maintain patient confidenti-
Corresponding author: Mishka Terplan, MD, MPH, The University of Chicago,                ality within clinical and public health administrative
Department of Obstetrics and Gynecology, 5841 South Maryland Avenue, MC                  systems.18 National prevalence estimates vary mark-
2050, Chicago, IL 60637; e-mail: mterplan@babies.bsd.uchicago.edu.
                                                                                         edly depending on study designs and sampled popu-
Financial Disclosure
The authors did not report any potential conflicts of interest.
                                                                                         lations (Terplan M. Why is there no moral panic
                                                                                         surrounding methamphetamine use in pregnancy in
© 2009 by The American College of Obstetricians and Gynecologists. Published
by Lippincott Williams & Wilkins.                                                        the US? [abstract]. Adiktologie 2008; Supplement 2)
ISSN: 0029-7844/09                                                                       and range from 0.7%16 to 5.2%.19



VOL. 113, NO. 6, JUNE 2009                                                                                  OBSTETRICS & GYNECOLOGY        1285
                        Case: 3:14-cv-00870-jdp Document #: 18-2 Filed: 01/07/15 Page 3 of 8

    This study was undertaken to estimate trends in                              confidentiality, identifying information on clients or
the prevalence of methamphetamine treatment dur-                                 providers are removed from publicly available data.
ing pregnancy. Pregnant women who enter treatment                                     Our analysis included all admissions in TEDS
can be considered to experience actual disorders,                                from 1994 to 2006 in which 1) the client was indicated
beyond the level of “casual” use.20 Furthermore, by                              as pregnant at the time of admission and 2) the data
investigating treatment admissions, we focus on a                                listed a primary substance of use. We started in 1994
population whose disorders result in particularly high                           because it is the first year for which there has been
social costs. Moreover, pregnancy presents a window                              uniform reporting for all data fields and ended in
of opportunity, within which institutional support                               2006 because it is the last year of data availability. We
coupled with a motivation for behavioral change                                  focused on methamphetamine admissions, defined as
heighten the possibility of beneficial outcomes.                                 any admission for which methamphetamine or am-
MATERIALS AND METHODS                                                            phetamine was the primary substance that led to the
Admissions data were obtained from the Treatment                                 treatment episode. We did not separate amphetamines
Episode Data Set (TEDS) an administrative data system                            from methamphetamines because states varied within
designed to track admissions into substance treatment                            the subclassification of these substances. Some states, for
facilities that receive federal funding. Treatment Episode                       example, did not report methamphetamine as separate
Data Set data are collected by all 50 States (including                          from amphetamine. However, for the states that made
Washington DC and Puerto Rico) and submitted to the                              this distinction, methamphetamines constituted about
federal government. Treatment Episode Data Set was                               95% of all stimulant admissions.24 For ease of discussion,
established in the Substance Abuse and Mental Health                             we refer to all methamphetamine or amphetamine
Data Archive and is maintained at the University of                              admissions as methamphetamine admissions.
Michigan.21 It includes records for some 1.5 million                                  In addition to the existent TEDS variables, we
substance treatment admissions annually. In 1997,                                constructed two additional covariates: polysubstance
TEDS was estimated to include 83% of all eligible drug                           use was considered present if either a secondary or a
or alcohol treatment admissions in the United States.22                          tertiary substance was reported. An admission was con-
All data are automatically checked as they are submitted                         sidered to originate from the criminal justice system if
through the internal control process in TEDS. Valida-                            the principle source of referral was from any police
tion and verification checks are run on the data as they                         official, probation officer, or a Federal, State, or county
are being entered. The system will not allow any data                            judicial system.
that are out of range or violate skip patterns to be saved                            We began our analysis by examining univariable
into the database.23                                                             statistics on basic measures. Then we described these
      At intake, treatment programs record data regard-                          characteristics among methamphetamine admissions.
ing basic client characteristics and substance use. Sub-                         To assess data trends over time, we explored interac-
stance use was based on client self-report. Treatment                            tions (and accompanying P values) between year and
Episode Data Set provides data on service setting, num-                          all demographic variables in sequential logistic mod-
ber of prior treatments, primary referral source, employ-                        els. The results were stratified by year of admission to
ment status, presence of psychiatric problems, living                            represent trends over time.
arrangements, health insurance, substance(s) used, route                              For simplicity, only the results from every fourth
of administration, age at first use, pregnancy status,                           year are reported in the tables. Stata 10.0 (StataCorp
demographic data on age, and race or ethnicity. For                              LP, College Station, TX) was used for all analysis.


                                              Alcohol           Cocaine          Marijuana
                                              Opiates           Amphetamines
Treatment admissions,




                                                                                             5,312
pregnant women (n)




                                                                                                     Fig. 1. Primary substance among preg-
                            1,457                                                                    nant women in substance treatment.
                                                                                                     Terplan. Methamphetamine Treatment
                            1994    1995 1996 1997 1998 1999   2000 2001 2002 2003 2004 2005 2006    Among Pregnant Women. Obstet Gy-
                                                                                                     necol 2009.



1286                    Terplan et al     Methamphetamine Treatment Among Pregnant Women                   OBSTETRICS & GYNECOLOGY
        Case: 3:14-cv-00870-jdp Document #: 18-2 Filed: 01/07/15 Page 4 of 8

Table 1. Treatment Admissions in 2006                                   2,779 (1.1%) had data missing for the primary substance
         (Treatment Episode Data Set)                                   leading to the treatment episode. Therefore our data set
                                            Methamphetamine             included the 243,191 pregnant admissions for which a
                            No. of             as Primary               substance compelling treatment could be identified.
                          Admissions         Substance (%)                   From 1994 to 2006 the number of pregnant admis-
Men                        1,228,493                 6.9                sions increased from 18,034 to 22,382. Alcohol and
Nonpregnant women            553,234                12.4                cocaine declined as a primary substance of use through
Pregnant women                22,382                23.7
                                                                        this time period, whereas methamphetamine and mari-
                                                                        juana use increased. In 1994 methamphetamine ac-
Because TEDS is publicly available without subject                      counted for 8% of admitted pregnant women. Since
identification, the University of Chicago Institution                   2003 methamphetamine has been the most common
Review Board exempted this study from review.                           primary substance for treatment admissions among
                                                                        pregnant women, and in 2006 it accounted for 24.0% of
RESULTS                                                                 admissions (Fig. 1). Compared with men and nonpreg-
From 1994 to 2006, we identified a total of 245,970                     nant women, rates of methamphetamine admissions are
pregnant women who were admitted in TEDS, of which,                     highest among pregnant women (Table 1).

Table 2. Demographic Characteristics of Pregnant Methamphetamine Admissions
Characteristic                      1994                    1998                 2002               2006            P for Trend
Age (y)
   20 or younger                   268 (18.4)            369 (19.3)             654 (19.5)         878 (16.5)          ⬍.001
   21–29                           859 (59.1)          1,007 (52.6)           1,892 (56.3)       3,259 (61.4)
   30–39                           314 (21.6)            497 (26.0)             730 (21.7)       1,050 (19.8)
   40 or older                      13 (0.9)              42 (2.2)               86 (2.6)          122 (2.0)
Race
   White                          1,105(75.9)          1,352 (71.3)           2,171 (64.7)       3,343 (63.5)          ⬍.001
   African American                  38 (2.6)             57 (3.0)              117 (3.5)          187 (3.5)
   Hispanic/Latina                 187 (12.8)            312 (16.5)             758 (22.6)       1,265 (23.9)
   Other                           126 (8.7)             174 (9.2)              308 (9.2)          490 (9.3)
Region
   Midwest                          61 (4.2)             203 (10.6)             416 (12.4)         740 (13.9)          ⬍.001
   Northeast                        10 (0.7)               3 (0.2)                6 (0.2)           23 (0.4)
   South                            21 (1.4)             104 (5.4)              305 (9.1)          654 (12.3)
   West                          1,365 (93.7)          1,606 (83.8)           2,635 (78.4)       3,895 (73.3)
Primary income*
   Wages/retirement                 41 (19.5)              108 (24.0)           203 (22.9)         467 (22.1)          ⬍.001
   Public assistance               103 (49.1)              101 (22.4)           181 (20.4)         326 (15.4)
   Other                            34 (16.2)               97 (21.6)           212 (23.9)         468 (22.1)
   None                             32 (15.2)              144 (32.0)           290 (32.7)         856 (40.4)
Living arrangement*
   Homeless                         56 (16.3)            117 (16.5)             144 (11.8)         840 (16.1)          ⬍.001
   Supervised                       88 (25.6)            191 (26.9)             340 (27.9)       1,725 (33.1)
   Independent                     200 (58.1)            402 (56.6)             733 (60.2)       2,643 (50.8)
Unemployed                       1,342 (92.7)          1,709 (89.6)           2,966 (90.0)       4,677 (88.3)          ⬍.001
Health insurance*
   Private insurance                13 (4.4)                15 (3.0)             40 (4.0)           47 (2.3)           ⬍.001
   Medicaid                        123 (42.0)              166 (33.3)           343 (34.7)         761 (36.9)
   Medicare                         19 (6.5)                34 (6.8)             32 (3.2)          325 (15.8)
   None                            138 (47.1)              284 (56.9)           575 (58.1)         931 (45.1)
Psychiatric problems*               60 (4.6)               156 (9.8)            326 (10.9)         627 (15.8)          ⬍.001
High school diploma                678 (44.8)              882 (47.2)         1,598 (48.8)       2,696 (51.1)          ⬍.001
Marital status*
   Never married                   163 (50.6)              329 (48.3)           683 (51.5)       1,602 (59.4)          ⬍.001
   Currently married                67 (20.8)              126 (18.5)           267 (20.1)         526 (19.5)
   Separated                        46 (14.3)               94 (13.8)           148 (11.2)         216 (8.01)
   Divorced/widowed                 46 (14.3)              132 (19.4)           229 (17.3)         354 (13.1)
Data are n (%).
* More than 10% missing in this variable.




VOL. 113, NO. 6, JUNE 2009                      Terplan et al      Methamphetamine Treatment Among Pregnant Women          1287
       Case: 3:14-cv-00870-jdp Document #: 18-2 Filed: 01/07/15 Page 5 of 8




Fig. 2. Regional distribution of methamphetamine treatment admissions among pregnant women in 1994 (A), 1998 (B),
2002 (C), and 2006 (D). Each region (West, Midwest, Northeast, and South) is shown in a different shade of black or gray.
Source: Energy Information Administration (October 2008).
Terplan. Methamphetamine Treatment Among Pregnant Women. Obstet Gynecol 2009.


      Table 2 focuses on the characteristics of metham-       care more than doubled from 6.5% to 15.8%, perhaps
phetamine admissions during pregnancy by year. Over-          reflecting the increase in admissions with co-occur-
all, these admissions were associated with white ethnic-      ring psychiatric disorders, which rose from 4.6% to
ity, unemployment, unmarried status, and residence in         15.8%. Admissions that described independent living
Western states. Pregnant Hispanic or Latina admissions        arrangements decreased from 58.1% to 50.8%,
increased significantly over the study period from 13.5%      whereas admissions from supervised settings such as a
to 23.9%, whereas African-American admissions re-             residential institution or a group home increased from
mained low, accounting for less that 4% for each year.        25.6% to 33.1%. Although polysubstance use was
      We observed a dramatic change in client source          common among methamphetamine admissions, it
of income among methamphetamine admissions. Al-               declined over the time frame from 70.6% to 62.4%.
though those reporting wage, retirement, or other                  We observed geographic differences in preg-
income remained fairly stable, public assistance re-          nant methamphetamine admissions over time. In
ceipt dropped from 49.1% to 15.4%. In contrast,               1994, fully 93.7% of methamphetamine admissions
admissions reporting no source of income increased            were concentrated in Western states. By 2006,
from 15.2% to 40.4%. Although most pregnant                   admissions in the South and Midwest had increased
women are Medicaid-eligible, more than 50% of                 substantially, and accounted for 26.2% of all admis-
admitted pregnant women reported no health insur-             sions. There was little change over the time period
ance. Admissions with Medicaid dropped slightly               among admissions in the Northeast, which re-
from 42.0% to 36.9%, whereas admissions with Medi-            mained below 1% (Fig. 2).



1288   Terplan et al   Methamphetamine Treatment Among Pregnant Women                   OBSTETRICS & GYNECOLOGY
        Case: 3:14-cv-00870-jdp Document #: 18-2 Filed: 01/07/15 Page 6 of 8

      The substance-related characteristics of preg-              Methamphetamine disorders now account for
nant methamphetamine admissions are detailed in              one quarter of all admissions of pregnant women
Table 3. Smoking was the most common method of               into substance-abuse treatment. Overall, we ob-
administration, followed by injecting. There was no          served an increase in indicated medical and psychi-
meaningful change in the route of drug administra-           atric comorbidity among admitted pregnant meth-
tion over time. Aside from a decrease in the                 amphetamine users. Methamphetamine intoxication
proportion of admissions reporting no prior treat-           and withdrawal have been associated with psychotic
ments from 1994 (55.7%) to 1996 (48.9%), there was           symptoms,27 which worsen with long-term use. Thus,
little change in the number of prior treatment               the increase in co-occurring disorders may reflect
admissions in the study population over time.                consequences of long-term use. Methamphetamine
      We observed a large increase in the proportion of
                                                             admissions seem to reflect increasing social disad-
admissions originating in the criminal justice system
                                                             vantage. We observed an increase in admissions
from 29.4% to 40.6%. The average age of first meth-
                                                             arising from the criminal justice system, Medicare-
amphetamine use did not differ appreciably across
                                                             funded admissions, those from supervised living
the time frame, with the categorical median age
remaining between 15 and 17 years. The majority of           situations, and those among women reporting no
admissions were admitted into ambulatory substance           source of income.
treatment; however, the proportion of those entering              Since 1996, substance use disorders are no longer
residential facilities increased over the time period        qualifying diagnoses for the receipt of federal disabil-
from 21.4% to 31.7%.                                         ity assistance.28 Cash assistance caseloads have mark-
                                                             edly declined among both drug-using and non– drug-
DISCUSSION                                                   using pregnant and parenting women.29 These results
The trends we observed are similar to those observed         are reflected in TEDS data. In 1994, nearly one half of
in other populations.16,25,26 Our results confirm a          pregnant methamphetamine admissions reported re-
spreading pattern of methamphetamine use from an             ceiving public assistance; in 2006, 40% reported no
initial concentration of predominantly white women           source of income. Declining welfare receipt among
in the West to increasing numbers in the Midwest and         pregnant substance users is of concern, especially
Southeast, including an increasing proportion of His-        when coupled with findings that welfare reform has
panic or Latina women.                                       adversely affected first-trimester prenatal care initia-

Table 3. Substance Use Characteristics of Pregnant Methamphetamine Admissions
Characteristic                    1994               1998               2002              2006           P for Trend
Polysubstance use              1,020 (70.0)       1,310 (68.4)       2,209 (65.7)      3.293 (61.9)         ⬍.001
No. of substances reported
   1                             437 (30.0)         606 (31.6)       1,153 (34.3)      2,019 (38.0)         ⬍.001
   2                             504 (34.6)         648 (33.8)       1,213 (36.1)      2,451 (46.1)
   3                             516 (35.4)         662 (34.6)         996 (29.6)        842 (15.9)
Criminal justice referral        426 (29.4)         683 (36.8)       1,360 (41.9)      2,157 (40.6)         ⬍.001
Type of treatment
   Detoxification                 67 (4.6)          138 (7.2)          195 (5.8)         282 (5.31)         ⬍.001
   Residential                   311 (21.4)         534 (27.9)       1,028 (30.6)      1,685 (31.7)
   Ambulatory                  1,079 (74.1)       1,244 (64.9)       2,139 (63.6)      3,345 (63.0)
Route of use
   Smoke                       1,057 (73.5)       1,357 (73.2)       2,417 (73.8)      4,129 (78.3)         ⬍.001
   Intravenous                   279 (19.4)         411 (22.2)         665 (20.3)        914 (17.3)
   Oral/other                    102 (7.1)           87 (4.7)          194 (5.9)         229 (4.3)
Prior treatments
   None                          778 (55.7)         846 (49.5)       1,542 (50.4)      2,567 (49.9)         ⬍.001
   1–4                           596 (42.6)         817 (47.8)       1,396 (45.7)      2,397 (46.6)
   5 or more                      24 (1.7)           47 (2.8)          119 (4.0)         182 (3.5)
Age at first use (y)
   20 or younger               1,089 (75.6)       1,392 (73.1)        999 (73.5)       4,045 (76.7)         ⬍.001
   21–29                         306 (21.2)         422 (22.2)        310 (22.8)       1,008 (19.1)
   30–39                          45 (3.1)           43 (4.9)          45 (3.3)          211 (4.0)
   40 or older                     1 (0.1)            4 (0.5)           6 (0.4)            7 (0.1)
Data are n (%).




VOL. 113, NO. 6, JUNE 2009               Terplan et al    Methamphetamine Treatment Among Pregnant Women        1289
       Case: 3:14-cv-00870-jdp Document #: 18-2 Filed: 01/07/15 Page 7 of 8

tion among low-income women30 and has hindered               The prevalence of such admissions remains low in the
their ability to receive substance treatment.31              context of four million annual U.S. births. Yet these
      Another disquieting trend was the increase in          patterns raise concerns for both women’s life course
criminal justice referrals. This raises the possibility      and for psychosocial development of children. Since
that drug and alcohol screening is occurring in the          2003, methamphetamine has been the primary drug
criminal justice system rather than in health care           of abuse among pregnant women admitted to drug
settings. About one half of the admissions stated that       treatment in the U.S. This is especially of concern
they had no health insurance, despite the fact that          because little is known regarding its perinatal effects.
most low-income pregnant women are Medicaid-                 Our findings suggest a need for more effective drug
eligible. Although it is unclear what proportion of          and alcohol screening by clinicians, who are posi-
admissions in our study had accessed prenatal care           tioned to identify and address such concerns outside
before treatment admission, lack of health insurance         the criminal justice system.
among treatment admissions suggests that clients’ first           Finally, by focusing an enquiry on treatment
institutional contact was often with the criminal justice    admissions, we are focusing on the population whose
system or substance abuse treatment and not prenatal         substance abuse and dependence results in a high
care. Ethnographic studies indicate that pregnant            financial cost to society. Pregnancy presents a window
substance users face greater stigmatization than their       of opportunity within which institutional support cou-
nonpregnant counterparts.31,32 Although the desire for       pled with a motivation for behavioral change heighten
behavioral change may be strong in pregnancy, sub-           the possibility of positively affecting both the woman
stance-using women may be afraid to seek prenatal            and her family.
care out of fear of prosecution or child protection
intervention.33 This is unfortunate, because prenatal
care has shown improvement in birth outcomes, even           REFERENCES
given continued substance use.34                              1. Substance Abuse and Mental Health Services Administration.
                                                                 Results from the 2005 National Survey on Drug Use and
      Some of our findings are consistent with that of a         Health: national findings. DHHS Publication No. SMA
“maturing” drug epidemic.35 As the negative conse-               06-4194. Report No.: H-30. Rockville (MD): U.S. Department
quences of a particular substance become more mani-              of Health and Human Services; 2006.
fest, use begins to concentrate in a more disadvantaged,      2. Substance Abuse and Mental Health Services Administration.
                                                                 Treatment Episode Data Set (TEDS). Highlights—2005.
older group. Not all of our data, however, support this
                                                                 National admissions to substance abuse treatment services.
hypothesis. In our study, the age upon admission re-             DHHS Publication No. (SMA) 07-4229. Report No.: DASIS
mained the same; unemployment slightly decreased;                Series: S-36. Rockville (MD): U.S. Department of Health and
and the proportion of admissions with a high school              Human Services; 2006.
diploma increased. Unfortunately, TEDS does not dis-          3. Cox S, Posner SF, Kourtis AP, Jamieson DJ. Hospitalizations
                                                                 with amphetamine abuse among pregnant women. Obstet
tinguish treatment readmissions, a variable that would           Gynecol 2008;111:341–7.
aid greatly in describing methamphetamine as an               4. Substance Abuse and Mental Health Services Administration.
epidemic.                                                        Drug Abuse Warning Network, 2004: national estimates of
      Addiction is a chronic, relapsing disorder. Readmis-       drug-related emergency department visits. DHHS Publication
                                                                 No. (SMA) 06-4143. Report No.: DAWN Series D-28. Rock-
sions are thus common.36 Given such readmissions,                ville (MD): U.S. Department of Health and Human Services;
observations are not fully independent, violating con-           2006.
ventional hypothesis test assumptions. In focusing on         5. Substance Abuse and Mental Health Services Administration.
pregnant women, we probably lessen this statistical              Results from the 2006 National Survey on Drug Use and
                                                                 Health: national findings. DHHS Publication No. SMA
concern. Our study population likely contains fewer              07-4293. Report No.: NSDUH Series H-32. Rockville (MD):
repeat observations of the same individual than would a          U.S. Department of Health and Human Services; 2007.
study of the overall treatment population.                    6. Kim J, Krall J. Literature review: effects of prenatal substance
      Our study has several other limitations. Most              exposure on infant and early childhood outcomes. Berkeley
important, TEDS draws only from treatment units                  (CA): University of California at Berkeley; 2006.
that receive federal funds. Although TEDS captures            7. Smith L, Yonekura ML, Wallace T, Berman N, Kuo J,
                                                                 Berkowitz C. Effects of prenatal methamphetamine exposure
more than 80% of U.S. treatment admissions, exclu-               on fetal growth and drug withdrawal symptoms in infants born
sion of private facilities likely biases the sample              at term. J Dev Behav Pediatr 2003;24:17–23.
toward greater disadvantage.                                  8. Smith LM, Lagasse LL, Derauf C, Grant P, Shah R, Arria A,
      Methamphetamine-related treatment admissions               et al. The infant development, environment, and lifestyle
                                                                 study: effects of prenatal methamphetamine exposure, poly-
are rising among pregnant women, as are accompa-                 drug exposure, and poverty on intrauterine growth. Pediatrics
nying burdens of medical and social comorbidities.               2006;118:1149–56.



1290   Terplan et al   Methamphetamine Treatment Among Pregnant Women                      OBSTETRICS & GYNECOLOGY
        Case: 3:14-cv-00870-jdp Document #: 18-2 Filed: 01/07/15 Page 8 of 8

 9. Cho DH, Lyu HM, Lee HB, Kim PY, Chin K. Behavioral                        Admissions to Substance Abuse Treatment Services, Appendix
    teratogenicity of methamphetamine. J Toxicol Sci 1991;16                  B. Office of Applied Studies, HHS 1999 August; DASIS Series:
    suppl:37–49.                                                              S-7. Available at: http://www.dasis.samhsa.gov/teds97/id51.htm.
10. Weissman AD, Caldecott-Hazard S. Developmental neurotox-                  Retrieved April 2, 2009.
    icity to methamphetamines. Clin Exp Pharmacol Physiol 1995;           23. Substance Abuse and Mental Health Services Administration.
    22:372–4.                                                                 Substance Abuse and Mental Health Services Administration
11. Hunt D, Kuck S, Truitt L. Methamphetamine use: lessons                    FY 2008 Annual Performance Report. Department of Health
    learned. Report No.: 209730. Washington (DC): U.S. Depart-                and Human Services; Office of Applied Studies; 2008. Avail-
    ment of Justice; 2006.                                                    able at: http://www.samhsa.gov/Budget/FY2008/SAMHSA_
                                                                              FY08_APR.pdf. Retrieved April 1, 2009.
12. Kissin WB, Svikis DS, Morgan GD, Haug NA. Characterizing
    pregnant drug-dependent women in treatment and their chil-            24. Substance Abuse and Mental Health Services Administration.
    dren. J Subst Abuse Treat 2001;21:27–34.                                  Treatment Episode Data Set (TEDS): 1995–2005. National
                                                                              admissions to substance abuse treatment services. Report No.:
13. Medrano MA, Zule WA, Hatch J, Desmond DP. Prevalence of                   DHHS Publication No. (SMA) 07-4234. Rockville (MD): U.S.
    childhood trauma in a community sample of substance-abus-                 Department of Health and Human Services; 2007.
    ing women. Am J Drug Alcohol Abuse 1999;25:449–62.
                                                                          25. Azadi A, Dildy GA 3rd. Universal screening for substance
14. Datner EM, Wiebe DJ, Brensinger CM, Nelson DB. Identify-                  abuse at the time of parturition. Am J Obstet Gynecol 2008;
    ing pregnant women experiencing domestic violence in an                   198:e30–2.
    urban emergency department. J Interpers Violence 2007;22:
    124–35.                                                               26. Buchi KF, Zone S, Langheinrich K, Varner MW. Changing
                                                                              prevalence of prenatal substance abuse in Utah. Obstet
15. Carta JJ, Atwater JB, Greenwood CR, McConnell SR, McEvoy
                                                                              Gynecol 2003;102:27–30.
    MA, Williams R. Effects of cumulative prenatal substance
    exposure and environmental risks on children’s developmental          27. Perez-Reyes M, White WR, McDonald SA, Hicks RE, Jeffcoat
    trajectories. J Clin Child Psychol 2001;30:327–37.                        AR, Hill JM, et al. Clinical effects of daily methamphetamine
                                                                              administration. Clin Neuropharmacol 1991;14:352–8.
16. Derauf C, Lagasse LL, Smith LM, Grant P, Shah R, Arria A, et al.
    Demographic and psychosocial characteristics of mothers using         28. Personal Responsibility and Work Opportunity Reconciliation
    methamphetamine during pregnancy: preliminary results of the              Act of 1996, Pub.L. 104 –193, 110 Stat. 2105, Personal Respon-
    infant development, environment, and lifestyle study (IDEAL).             sibility and Work Opportunity Reconciliation Act of 1996
    Am J Drug Alcohol Abuse 2007;33:281–9.                                    (1996).
17. Newcomb MD, Locke T. Health, social and psychological                 29. Pollack HA, Reuter P. Welfare receipt and substance-abuse
    consequences of drug use and abuse. In: Sloboda Z, editor.                treatment among low-income mothers: the impact of welfare
    Epidemiology of drug abuse. New York (NY): Springer Sci-                  reform. Am J Public Health 2006;96:2024–31.
    ence; 2005. p. 45–62.                                                 30. Gavin NI, Adams EK, Manning WG, Raskind-Hood C, Urato
18. Herzig K, Huynh D, Gilbert P, Danley DW, Jackson R,                       M. The impact of welfare reform on insurance coverage before
    Gerbert B. Comparing prenatal providers’ approaches to four               pregnancy and the timing of prenatal care initiation. Health
    different risks: alcohol, tobacco, drugs, and domestic violence.          Serv Res 2007;42:1564–88.
    Women Health 2006;43:83–101.                                          31. Rosenbaum M. Women on heroin. 2nd ed. Newark (NJ):
19. Arria AM, Derauf C, LaGasse LL, Grant P, Shah R, Smith L,                 Rutgers University Press; 1981.
    et al. Methamphetamine and other substance use during
                                                                          32. Ettore E. Revisioning women and drug use: gender, power and
    pregnancy: preliminary estimates from the Infant Develop-
                                                                              the body. New York (NY): Palgrave Macmillan; 2007.
    ment, Environment, and Lifestyle (IDEAL) Study. Matern
    Child Health J 2006;10:293–302.                                       33. Chavkin W, Breitbart V, Elman D, Wise PH. National survey
                                                                              of the states: policies and practices regarding drug-using preg-
20. Hubbard RL. The role of treatment data in studying the
                                                                              nant women [published erratum appears in Am J Public Health
    epidemiology of substance use and abuse. In: Sloboda Z,
                                                                              1998;88:438 and 820]. Am J Public Health 1998;88:117–9.
    editor. Epidemiology of drug abuse. New York (NY): Springer
    Science; 2005. p. 225–33.                                             34. Kukko H, Halmesmaki E. Prenatal care and counseling of
21. Substance Abuse and Mental Health Services Administration                 female drug-abusers: effects on drug abuse and perinatal
    OoAS. Treatment Episode Data Set (TEDS), 1994 –2006                       outcome. Acta Obstet Gynecol Scand 1999;78:22–6.
    [Computer file]. Ann Arbor, MI: U.S. Department of Health             35. Caulkins JP. Models pertaining to how drug policy should vary
    and Human Services; Inter-university Consortium for Political             over the course of a drug epidemic. Adv Health Econ Health
    and Social Research [producer and distributor]; December 8,               Serv Res 2005;16:397–429.
    2006.                                                                 36. McLellan AT, Lewis DC, O’Brien CP, Kleber HD. Drug depen-
22. Substance Abuse and Mental Health Services Administration.                dence, a chronic medical illness: implications for treatment,
    Treatment Episode Data Set (TEDS) 1992–1997 National                      insurance, and outcomes evaluation. JAMA 2000;284:1689–95.




VOL. 113, NO. 6, JUNE 2009                       Terplan et al         Methamphetamine Treatment Among Pregnant Women                   1291
